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                                                                           United States District Court
                                                                             Southern District of Texas

                                                                                ENTERED
                                                                            September 20, 2022
                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF TEXAS
                                                                             Nathan Ochsner, Clerk

                          HOUSTON DIVISION

UNITED STATES OF AMERICA                   §
                                           §
                                           §
vs.                                        §   CRIMINAL NO. H-18-710
                                           §
CLARENCE C. ROLAND, III                    §
                                           §

                              JURY INSTRUCTIONS
Members of the Jury:

        In any jury trial there are, in effect, two judges. I am one of the judges; the

other is the jury. It is my duty to preside over the trial and to decide what evidence

is proper for your consideration. It is also my duty at the end of the trial to explain

to you the rules of law that you must follow and apply in arriving at your verdict.

        First, I will give you some general instructions that apply in every case, for

example, instructions about the burden of proof and how to judge the believability

of witnesses. I will then give you some definitions for words that are used in the

instructions on one or more counts of the indictment.           I will then give you

instructions on specific rules of law for each of the counts in the indictment. Finally,

I will explain to you the procedures you should follow in your deliberations.
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                            GENERAL INSTRUCTIONS
        You, as jurors, are the judges of the facts. But in reaching your decision as to

the facts, it is your sworn duty to follow all of the rules of law as I explain them to

you. You have no right to disregard or give special attention to any one instruction,

or to question the wisdom or correctness of any rule I state to you. You must not

substitute or follow your own notion or opinion as to what the law is or ought to be.

It is your duty to apply the law as I explain it to you, regardless of the consequences.

        It is also your duty to base your verdict solely on the evidence, without

prejudice or sympathy. That was the promise you made and the oath you took before

being accepted by the parties as jurors, and they have the right to expect nothing

less.

        An indictment or formal charge against a defendant is not evidence of guilt.

Indeed, each defendant is presumed by the law to be innocent. The law does not

require any defendant to prove his innocence or to produce any evidence at all. The

government has the burden of proving the defendant guilty beyond a reasonable

doubt, and if it fails to do so, you must acquit the defendant.

        While the government’s burden of proof is a strict or heavy burden, it is not

necessary that the defendant’s guilt be proved beyond all possible doubt. It is

required that the government’s proof exclude any “reasonable doubt” concerning the

defendant’s guilt. A “reasonable doubt” is a doubt based on reason and common



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sense after careful and impartial consideration of all the evidence in the case. Proof

beyond a reasonable doubt is proof of such a convincing character that you would

be willing to rely and act on it without hesitation in the most important of your own

affairs.

       A separate crime is charged in each count of the indictment. You must

consider each count, and the evidence that relates to it, separately. The fact that you

may find the defendant guilty or not guilty of any of the crimes charged should not

control your verdict as to any other crime. You must give separate consideration to

the evidence in each of the counts charged.

       As I told you earlier, it is your duty to determine the facts. In doing so, you

must consider only the evidence presented during the trial, including the sworn

testimony of the witnesses and the exhibits.        Remember that the statements,

objections, and arguments made by the government’s lawyers, or by Mr. Roland

other than when he testified, are not evidence. The function of the lawyers, or by

Mr. Roland acting as his own lawyer, is to point out those things that are most

significant or most helpful to their side of the case, and in so doing to call your

attention to certain facts or inferences that might otherwise escape your notice. In

the final analysis, however, it is your own recollection and interpretation of the

evidence that controls. What the lawyers say, or what Mr. Roland says when acting




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as a lawyer in asking questions of witnesses or presenting arguments, is not binding

on you.

      Notes that you may have taken during the trial should be used only as memory

aids. You should not give your notes precedence over your independent recollection

of the evidence. If you did not take notes, you should rely on your own independent

recollection of the proceedings and you should not be unduly influenced by other

jurors’ notes. Notes are not entitled to any greater weight than each juror’s memory

or impression as to what the testimony was. Whether you took notes or not, each of

you must form and express your own opinion on the facts of the case.

      During the trial, I sustained objections to certain questions. You must

disregard those questions. Do not speculate as to what the witness would have said

if permitted to answer the question. Also, you have been instructed to disregard

certain testimony. Do not consider any of this testimony in reaching your decision.

Your verdict must be based solely on the legally admissible evidence and testimony.

      Also, do not assume from anything I may have done or said during the trial

that I have any opinion concerning any of the issues in this case. Except for the

instructions to you on the law, you should disregard anything I may have said during

the trial in arriving at your own findings as to the facts.

      While you should consider only the evidence, you are permitted to draw such

reasonable inferences from the testimony and exhibits as you feel are justified in the


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light of common experience. In other words, you may make deductions and reach

conclusions that reason and common sense lead you to draw from the facts that have

been established by the evidence. You should not be concerned about whether the

evidence is direct or circumstantial. “Direct evidence” is the testimony of one who

asserts actual knowledge of a fact, such as an eyewitness. “Circumstantial evidence”

is proof of a chain of events and circumstances indicating that something is or is not

a fact. The law makes no distinction between the weight you may give to either

direct or circumstantial evidence.

      I remind you that it is your job to decide whether the government has proved

the guilt of Mr. Roland beyond a reasonable doubt. In doing so, you must consider

all of the evidence. This does not mean, however, that you must accept all of the

evidence as true or accurate.        You are the sole judges of the credibility or

“believability” of each witness and the weight to be given to the witness’s testimony.

An important part of your job will be making judgments about the testimony of the

witnesses who testified in this case. You should decide whether you believe all or

any part of what each person had to say, and how important that testimony was. In

making that decision, I suggest that you ask yourself a few questions. Did the person

impress you as honest? Did the witness have any particular reason not to tell the

truth? Did the witness have a personal interest in the outcome of the case? Did the

witness have any relationship with either the government or the defense? Did the


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witness seem to have a good memory? Did the witness clearly see or hear the things

about which he or she testified? Did the witness have the opportunity and ability to

understand the questions clearly and answer them directly? Did the witness’s

testimony differ from the testimony of other witnesses? These are a few of the

considerations that may help you determine the accuracy of what each witness said.

      Your job is to think about the testimony of each witness you have heard and

decide how much you believe of what each witness had to say. In making up your

mind and reaching a verdict, do not make any decisions simply because there were

more witnesses on one side. You must always keep in mind that the burden of proof

is on the government. No defendant has the burden or duty to prove his innocence

or to present any evidence.

      One way the testimony of a witness may be discredited is by showing that the

witness testified falsely, or that at some other time the witness said or did something,

or failed to say or do something, which is inconsistent with the testimony the witness

gave at this trial. A witness’s earlier statements were not admitted in evidence to

prove that the contents of the earlier statement were true, and you may not consider

the earlier statements as such proof. Rather, you may use the earlier statements only

to determine whether you think they are consistent with the witness’s trial testimony

and whether they affect that witness’s credibility. If you believe that a witness has




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been discredited in this manner, it is your exclusive right to give that witness’s

testimony whatever weight you think it deserves.

      You have been told that Mr. Roland was found guilty in the State of California

of filing false instruments and grand theft of personal property, and in the State of

Washington of the federal offense of making a false statement affecting a financial

institution. These convictions have been brought to your attention only because you

may wish to consider them when you decide, as with any witness, how much of Mr.

Roland’s testimony you will believe in this trial. The fact that Mr. Roland was

previously found guilty of crimes does not mean that he committed the crimes for

which he is now on trial, and you must not use these prior convictions as proof of

the crimes charged in this case.

      You have heard evidence of acts of Mr. Roland that may be similar to those

charged in the indictment, but which were committed on other occasions. You must

not consider any of this evidence in deciding if Mr. Roland committed the acts

charged in the indictment. However, you may consider this evidence for other, very

limited, purposes. If you find beyond a reasonable doubt from other evidence in this

case that Mr. Roland did commit the acts charged in the indictment, then you may

consider evidence of the similar acts allegedly committed on other occasions to

determine whether Mr. Roland had the state of mind or intent necessary to commit

the crime charged in the indictment; whether he had a motive or the opportunity to


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commit the acts charged in the indictment; whether he acted according to a plan or

in preparation for commission of a crime; or whether he committed the acts for

which he is on trial by accident or mistake. These are the limited purposes for which

any evidence of other similar acts may be considered.

      The government called Arlando Jacobs as a witness. This witness was an

alleged accomplice of Mr. Roland and faced criminal charges of his own. Mr. Jacobs

entered a plea agreement providing for the dismissal of some charges and the

possibility of a lesser sentence than he would otherwise be exposed to for the offense

to which he pleaded guilty. Such plea bargaining, as it is called, has been approved

as lawful and proper, and is expressly provided for in court rules. An alleged

accomplice, including one who has entered into a plea agreement with the

government, is not prohibited from testifying. On the contrary, the testimony of such

a witness may alone be of sufficient weight to sustain a verdict of guilty. You should

keep in mind that such testimony is always to be received with caution and weighed

with great care. You should never convict a defendant on the unsupported testimony

of an alleged accomplice unless you believe that testimony beyond a reasonable

doubt. The fact that an alleged accomplice has pleaded guilty to the offense charged

is not evidence of the guilt of any other person. The fact that this witness pleaded

guilty to a federal crime is one factor you may consider in deciding whether to

believe him, but it does not necessarily destroy his credibility. A conviction is a


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factor you may consider in deciding whether to believe that witness, but it does not

necessarily destroy the witness’s credibility. It has been brought to your attention

only because you may wish to consider it when you decide whether you believe the

witness’s testimony. It is not evidence of anything else.

      You will note that the indictment charges that the offenses were committed on

or about specified dates. The government does not have to prove that each alleged

offense was committed on that exact date, so long as the government proves beyond

a reasonable doubt that Mr. Roland committed that offense on a date reasonably near

the dates stated in the indictment.

      You must decide whether the government has proved beyond a reasonable

doubt that Mr. Roland is guilty of the crimes charged. Mr. Roland is not on trial for

any act, conduct, or offense not alleged in the indictment. Neither are you concerned

with the guilt of any other person or persons not on trial in this case, except as you

are otherwise instructed.

      You may find that Mr. Roland had knowledge of a fact if you find that he

deliberately closed his eyes to what would otherwise have been obvious to him.

While knowledge on the part of Mr. Roland cannot be established merely by

demonstrating that the defendant was negligent, careless, or foolish, knowledge can

be inferred if Mr. Roland deliberately blinded himself to the existence of a fact.




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      If Mr. Roland is found guilty, it will be my duty to decide what the punishment

will be. You should not be concerned with punishment in any way. It should not

enter your consideration or discussion.

      Some charts and summaries have been received into evidence. They are the

following government Exhibits:

12a   Chart of entities
13a   Windsor Way chart
14h   Flow of funds for Windsor Way
15s   Claremont chart
16a   Flow of funds chart 10309 Southridge
18a   Flow of funds chart 1644 Caminito Barlovento
20a   Flow of funds chart Crossroads
21a   Flow of funds chart 16013 South Desert Foothills
26k   Flow of funds chart Lakewood Parkway
27a   South Cajon chart
27b   Cajon wire chart
28f   Flow of funds chart Cajon Ave
30h   Flow of funds chart Mountain View
32i   Flow of funds chart 402 3rd Ave. E., Polson, MT
137   Chart – 1644 Caminito
138   Chart – 16013 S. Desert Foothills Parkway
139   Chart – 3830 E. Lakewood Parkway
140   Chart – 10309 Southridge Drive
141   Chart – 1725 Crossroads Street
142   Count 2 – 4: Wire Fraud
143   Chart of Funds to Sellers and InterBank

      Charts and summaries are valid only to the extent that they accurately reflect

the underlying supporting evidence. You should give them only such weight as you

think they deserve.




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      Mr. Roland has offered evidence of good general reputation for opinion

testimony concerning truth and veracity, honesty and integrity, or character as a law-

abiding citizen. You should consider such evidence along with all the other evidence

in the case. Evidence of a defendant’s character, inconsistent with those traits of

character ordinarily involved in the commission of the crime charged, may give rise

to a reasonable doubt, since you may think it improbable that a person of good

character with respect to those traits would commit such a crime.

      There is no requirement that the entire conspiracy take place in the Southern

District of Texas, but in order for you to return a guilty verdict, the government must

prove by a preponderance of the evidence that either an agreement or an overt act

took place in this district, even if Mr. Roland never set foot in the district. An overt

act is an act performed to affect the object of a conspiracy, although it remains

separate and distinct from the conspiracy itself. Though the overt act need not be of

a criminal nature, it must be done in furtherance of the object of the conspiracy.

Unlike the other elements of the offense, this is a fact that the government has to

prove only by a preponderance of the evidence. This means the government has to

convince you only that it is more likely than not that part of the conspiracy took

place in the Southern District of Texas. All other elements of the offense must be

proved beyond a reasonable doubt. You are instructed that Harris County is located

in the Southern District of Texas.


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INSTRUCTIONS THAT APPLY TO MORE THAN ONE OF THE COUNTS
      1.     Definitions

      Certain words are used in one or more of the instructions on the specific counts

in the indictment. This section of the instructions defines those words as they are

used in these instructions.

      The word “knowingly” means that the act was done voluntarily and

intentionally, not because of mistake or accident.

      The word “willfully” means that the act was committed voluntarily and

purposely, with the intent to do something the law forbids; that is to say, with bad

purpose either to disobey or disregard the law. While a person must have acted with

the intent to do something the law forbids for you to find that the person acted

“willfully,” the person need not know what specific law or rule his conduct violates.

      A “scheme to defraud” means any plan, pattern, or course of action involving

a false or fraudulent pretense, representation, or promise intended to deceive others

in order to obtain something of value, such as money, from the persons or companies

to be deceived.

      A defendant acts with a “specific intent to defraud” if the defendant acts

knowingly and with the specific intent to deceive, ordinarily for the purpose of

causing some financial loss to another or bringing about some financial gain to the

defendant.



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      A pretense, representation, or promise is “false” if the defendant knows it to

be untrue or makes it with reckless indifference as to its truth or falsity. A

representation, pretense, or promise would also be “false” when it constitutes a half

truth, or effectively omits or conceals a material fact, provided it is made with a

specific intent to defraud.

      A representation, pretense, or promise is “material” if it has a natural tendency

to influence, or is capable of influencing, the decision of the person or entity to which

it is addressed.




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      2.     Instructions on the Nature of the Case
      The indictment charges Mr. Clarence C. Roland with conspiracy to commit

wire fraud, that is, using interstate electronic and other wire communications to carry

out a scheme to commit fraud, affecting a financial institution and bank fraud, with

wire fraud, and with money laundering. The government alleges that Mr. Roland

committed and conspired to commit fraud by creating and filing false real property

deeds and related documents to acquire properties to which he had no legal right.

The government alleges that Mr. Roland, working with others, and often using the

name Joshua (alternatively spelled “Josua”) Stein, fabricated documents to defraud

mortgage holders—banks or the Federal National Mortgage Association—by

fraudulently transferring the ownership of the real property for which the mortgage

banks had loaned money and in which the banks had a security interest or lien.

      The government alleges that Mr. Roland and others fraudulently caused the

ownership of the real property to appear to have changed by filing or causing to have

filed false deeds and other documents in the deed records in the county where the

property was located. The government alleges that Mr. Roland and other participants

created shell companies or fake trusts to act as the new owners or titleholders of the

property, and then filed the false documents to make it look like title and ownership

had been transferred to these fabricated companies and trusts. The government

alleges that Roland and other participants then eliminated the mortgage lenders’



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security interest or lien in the real property. Finally, the government alleges that Mr.

Roland and other scheme participants sold the properties, giving the title companies

false information so that they would pay off the mortgages by making the payments

to the false companies and trusts Mr. Roland had created, rather than to the actual

mortgage lender.

      The government alleges that Mr. Roland and others were also paid seller’s

funds from some of the sales, money that was paid to bank accounts they set up.

      The government alleges that Mr. Roland and his associates used interstate

wire communications in carrying out their scheme to defraud, including emails, wire

transfers, and other electronic transmissions. Additionally, the government alleges

that Mr. Roland and others then laundered funds from the alleged wire fraud, in

excess of $10,000.

      Count 1 of the indictment charges Mr. Roland with conspiring to commit fraud

by creating and filing false real property deeds and related documents to acquire

properties to which he had no legal right. Counts 2, 3, and 4 of the indictment charge

Mr. Roland with specific instances of wire fraud, by using interstate wire

communications in carrying out the alleged scheme to defraud. Counts 5 through 10

of the indictment charge Mr. Roland with engaging in specific monetary transactions

in property derived from unlawful activity.




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      Mr. Roland denies the allegations in each count in the indictment.

Instructions on each of these counts are set out below.

        INSTRUCTIONS ON EACH COUNT OF THE INDICTMENT
                                     COUNT 1

      Count 1 of the indictment charges Mr. Roland with conspiracy to commit

fraud, in violation of Title 18, United States Code, Section 1349. This law makes it

a crime for anyone to conspire with someone else to commit an offense against the

laws of the United States.

      A “conspiracy” is an agreement between two or more persons to join together

to accomplish some unlawful purpose. It is a kind of “partnership in crime” in which

each member becomes the agent of every other member.

      For you to find Mr. Roland guilty of this crime, you must be convinced that

the government has proved each of the following, beyond a reasonable doubt:

         First:    that Mr. Roland and at least one other person made an agreement

                   to commit the crime of wire fraud affecting a financial institution,

                   or to commit the crime of bank fraud; and

         Second: that Mr. Roland knew of the unlawful purpose of the agreement

                   or that the purpose of the agreement was to defraud and joined in

                   it willfully, that is, with the specific intent to defraud or further

                   the unlawful purpose.



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      The definitions of the terms “knowingly,” “willfully,” and “specific intent to

defraud” are described on page 12 of these instructions.

      A person may become a member of a conspiracy without knowing all the

details of the unlawful scheme or the identities of all the other alleged conspirators.

If a defendant understands the unlawful nature of a plan or scheme and knowingly

and intentionally joins in that plan or scheme on one occasion, that is sufficient to

convict him for conspiracy even though the defendant had not participated before

and even though the defendant played only a minor part.

      The government need not prove that the alleged conspirators entered into any

formal agreement, or that they directly stated between themselves all the details of

the scheme. An agreement between coconspirators may be silent; it need not be

spoken. Similarly, the government need not prove that all of the details of the scheme

alleged in the indictment were actually agreed upon or carried out. Nor must it prove

that every person alleged to have been a member of the conspiracy was in fact a

member, or that the alleged conspirators actually succeeded in accomplishing their

unlawful objectives.

      Mere presence at the scene of an event, even with knowledge that a crime is

being committed, or the mere fact that certain persons may have associated with each

other, and may have assembled together and discussed common aims and interests,

does not alone establish proof of the existence of a conspiracy. Also, a person who


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has no knowledge of a conspiracy, but who happens to act in a way that advances

some purpose of a conspiracy, does not thereby become a conspirator.

      You are instructed that the elements of the crime of wire fraud are:

          First:    knowingly devising or intending to devise a scheme to defraud,

                    affecting financial institutions;

          Second: that the scheme to defraud used false material pretenses,

                    representations, or promises;

          Third:    transmitting or causing to be transmitted, by way of electronic

                    or other wire communications, in interstate commerce, any

                    writing or signal, for the purpose of carrying out the alleged

                    scheme or attempting to do so; and

          Fourth: acting with a specific intent to defraud.

      You are also instructed that the elements of the crime of bank fraud are:

          First:    knowingly devising or intending to devise a scheme to defraud;

          Second: that the scheme was to defraud a financial institution;

          Third:    acting with a specific intent to defraud a financial institution;

          Fourth: that the scheme to defraud was material, employed a false

                    material representation, or concealed a material fact; and

          Fifth:    placing the financial institution at risk of civil liability or

                    financial loss.


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      You are instructed that the following kinds of organizations are each

“financial institutions”:

             1. Any bank or savings association the deposits of which are insured

             by the Federal Deposit Insurance Corporation (FDIC).

             2. An organization which finances or refinances any debt secured by

             an interest in real estate, including private mortgage companies and any

             subsidiaries of such organizations, and whose activities affect interstate

             or foreign commerce.

             3. Any entity that makes in whole or part a federally related mortgage

             loan which is secured by a first or subordinate lien on residential real

             property and is (a) made, in whole or in part, by any lender whose

             deposits or accounts are insured by any agency of the federal

             government, or (b) which is intended to be sold by the originating

             lender to the Federal National Mortgage Association (Fannie Mae).

                                COUNTS 2, 3, and 4

      Mr. Roland is charged in Counts 2, 3, and 4 with committing specific instances

of wire fraud, in violation of Title 18, United States Code, Section 1343. This section

makes it a crime for anyone to use interstate wire communications in carrying out a

scheme to defraud.




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      For you to find Mr. Roland guilty of any of these counts, you must be

convinced that the government has proved, as to the particular count, each of the

following elements, beyond a reasonable doubt:

           First:   that Mr. Roland knowingly devised or intended to devise a

                    scheme to defraud, as alleged in the indictment;

           Second: that the scheme to defraud used false material pretenses,

                    representations, or promises;

           Third:   that Mr. Roland transmitted or caused to be transmitted, by way

                    of electronic or other wire communications, in interstate

                    commerce, any writing, signal, picture, or sound, for the

                    purpose of carrying out the alleged scheme or attempting to do

                    so; and

           Fourth: that Mr. Roland acted with a specific intent to defraud.

      The definitions of “knowingly,” “willfully,” “scheme to defraud,” and

“specific intent to defraud” on page 12 apply. The definitions of “false” and

“material” representation or promise on page 13 apply.

      It is not necessary that the government prove all of the details alleged in the

indictment concerning the precise nature and purpose of the scheme to defraud.

What must be proved beyond a reasonable doubt is that Mr. Roland knowingly

devised or intended to devise a scheme to defraud by means of false or fraudulent


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representations or promises, a scheme that was substantially the same as the one

alleged in the indictment.

      It is also not necessary that the government prove that the material transmitted

by wire communications was itself false or fraudulent, or that the use of the interstate

wire communications facilities was intended as the specific or exclusive means of

accomplishing the alleged fraud. What must be proved beyond a reasonable doubt is

that the use of the interstate wire communications facilities was closely related to

the scheme to defraud because Mr. Roland either wired something or caused it to be

wired in interstate commerce in an attempt to execute or carry out the scheme.

      To “cause” interstate wire communications facilities to be used is to do an act

with knowledge that the use of the wire communications facilities will follow in the

ordinary course of business or where such use can reasonably be foreseen.

      Each separate use of the interstate wire communications facilities in

furtherance of a scheme to defraud by means of false or fraudulent representations

or promises is a separate offense. The alleged scheme need not actually succeed in

defrauding anyone.

      Count 2 charges that Mr. Roland caused to be transmitted on or about June 2,

2014, an email, from “jjstein777@gmail.com” to EscrowNet in California, relaying

a bank account number to which EscrowNet would wire the seller the proceeds from

the sale of 802 S. Cajon Avenue, West Covina, California.


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      Count 3 charges that Mr. Roland caused to be transmitted on or about October

29, 2014, a fax, from Texas to Elite Escrow in California, containing an Interbank

Loan Servicing Corp. payoff statement for the real estate closing of 1377 Mountain

View Lane in Chula Vista, California.

      Count 4 alleges that Mr. Roland caused to be transmitted, on or about April

22, 2015, a fax, from Texas to First American Title Company of Montana, Inc., an

Interbank Loan Servicing payoff statement for the real estate closing of 402 3rd Ave.

East, Polson, Montana.

                           COUNTS 5, 6, 7, 8, 9, and 10

      Mr. Roland is charged in Counts 5 through 10 with engaging in monetary

transactions in property derived from specified unlawful activity, in violation of Title

18, United States Code, Section 1957. This section makes it a crime for anyone to

knowingly engage in, or attempt to engage in, a monetary transaction involving

criminally derived property, in excess of $10,000, that is derived from specified

unlawful activity.

      For you to find Mr. Roland guilty of this crime, you must be convinced that

the government has proved each of the following beyond a reasonable doubt:

           First:    that Mr. Roland engaged in or attempted to engage in a

                     monetary transaction;




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           Second: that Mr. Roland knew that the monetary transaction was of a

                    value greater than $10,000;

           Third:   that the monetary transaction involved criminally derived

                    property;

           Fourth: that the criminally derived property was derived from specified

                    unlawful activity, namely wire fraud;

           Fifth:   that Mr. Roland knew that the monetary transaction involved

                    criminally derived property; and

           Sixth:    that the monetary transaction took place within the United

                     States.

      The term “criminally derived property” means any property constituting or

derived from proceeds from a criminal offense.

      The government is not required to prove that Mr. Roland knew that the offense

from which the “criminally derived property” was derived was “specific unlawful

activity.” The government must prove, however, that Mr. Roland knew that the

property involved was obtained or derived from the commission of a crime.

      Count 5 charges that on or about April 17, 2014, Mr. Roland caused the

withdrawal of $29,200 from Wells Fargo Bank account number ending in 6282, held

in the name of National Recovery REO Services, Inc., relating to property located at

3830 Lakewood Parkway East #2037, Phoenix, Arizona.


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      Count 6 charges that on or about October 30, 2014, Mr. Roland caused the

withdrawal of $37,800 from Wells Fargo Bank account number ending in 1263, held

in the name of Colossians Investors Group LLC, relating to property located at 1377

Mountain View Lane, Chula Vista, California.

      Count 7 charges that on or about October 30, 2014, Mr. Roland caused the

purchase of Wells Fargo Bank Cashier’s Check 6844601882, payable to “Virtuous

Women Ministries,” in the amount of $22,800, relating to property located at 1377

Mountain View Lane, Chula Vista, California.

      Count 8 charges that that on or about October 30, 2014, Mr. Roland caused

the purchase of Wells Fargo Bank Cashier’s Check 6844601883, payable to Clarence

Roland, in the amount of $15,000, relating to property located at 1377 Mountain

View Lane, Chula Vista, California.

      Count 9 charges that on or about April 28, 2015, Mr. Roland caused the

withdrawal of $21,000 in cash from Wells Fargo Bank account number ending in

7055, held in the name of Midwest Regional Pass Through LLC, relating to property

located at 402 3rd Avenue East, Polson, Montana.

      Count 10 charges that on or about April 30, 2015, Mr. Roland caused the

purchase of Wells Fargo Bank Cashier’s Check 6847901014, payable to Clarence

Roland, in the amount of $50,000, relating to property located at 402 3rd Avenue

East, Polson, Montana.


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         Aiding and Abetting the Commission of Counts 2 through 10
      With respect to Counts 2 through 10, the government also charges that Mr.

Roland aided and abetted the commission of these alleged offenses under Title 18,

United States Code, Section 2. This section provides that the guilt of a defendant in

a criminal case may be established without proof that he personally did every act

constituting the offense alleged. This law recognizes that, ordinarily, anything a

person can do for himself may also be accomplished by him through direction of

another person as his agent, or by acting in concert with, or under the direction of,

another person or persons in a joint effort or enterprise.

      If the acts or conduct of an agent, employee, or other associate of the

defendant are willfully directed or authorized by him, or if the defendant aids and

abets another person by willfully joining together with such person in the

commission of a crime, then the law holds the defendant responsible for the acts and

conduct of such other persons just as though he had committed the acts or engaged

in such conduct himself. Notice, however, that before any defendant may be held

criminally responsible for the acts of others, it is necessary that the defendant

willfully associate himself in some way with the criminal venture, and willfully

participate in it as he would in something he wishes to bring about; that is to say,

that he willfully seeks by some act or omission to make the criminal venture succeed.




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      Of course, mere presence at the scene of a crime and knowledge that a crime

is being committed are not sufficient to establish that Mr. Roland either directed or

aided and abetted the crime, unless you find beyond a reasonable doubt that he was

a participant and not merely a knowing spectator. You may not find Mr. Roland

guilty under Title 18, United States Code, Section 2, unless you find beyond a

reasonable doubt that every element of the offense as defined in these instructions

was committed by some person or persons, and that Mr. Roland willfully participated

in its commission.

                             Coconspirator Liability

      A conspirator is responsible for offenses committed by other conspirators if

the conspirator was a member of the conspiracy when the offense was committed

and if the offense was committed in furtherance of, or as a foreseeable consequence

of, the conspiracy.

      Therefore, if you have found Mr. Roland guilty of the conspiracy charged in

Count One, and if you find beyond a reasonable doubt that, during the time Mr.

Roland was a member of that conspiracy, other conspirators committed the offenses

in Counts 2 through 10 in furtherance of and as a foreseeable consequence of that

conspiracy, then you may find Mr. Roland guilty of Counts 2 through 10, even

though he may not have participated in the acts constituting the offenses described

in Counts 2 through 10.



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                              FINAL INSTRUCTIONS
         To reach a verdict, whether it is guilty or not guilty, all of you must agree.

Your verdict must be unanimous on each count of the indictment. Your deliberations

will be secret. You will never have to explain your verdict to anyone.

         It is your duty to consult with one another and to deliberate in an effort to

reach agreement if you can do so. Each of you must decide the case for yourself,

but only after an impartial consideration of the evidence with your fellow jurors.

During your deliberations, do not hesitate to reexamine your own opinions and

change your mind if convinced that you were wrong. But do not give up your honest

beliefs as to the weight or effect of the evidence solely because of the opinion of

your fellow jurors, or for the mere purpose of returning a verdict.

         Remember at all times that you are judges—judges of the facts. Your duty is

to decide whether the government has proven Mr. Roland guilty beyond a reasonable

doubt.

         When you go to the jury room, the first thing that you should do is select one

of your number as your foreperson, who will help to guide your deliberations and

will speak for you here in the courtroom. A form of verdict has been prepared for

your convenience. The foreperson will write the unanimous answer of the jury in

the space provided for each count of the indictment, either guilty or not guilty. At

the conclusion of your deliberations, the foreperson should date and sign the verdict.



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If you need to communicate with me during your deliberations, the foreperson

should write a message and give it to the marshal. I will either reply in writing or

bring you back into the court to answer your message.

      Bear in mind that you are never to reveal to any person, not even to the court,

how the jury stands, numerically or otherwise, on any count of the indictment, until

after you have reached a unanimous verdict.

            SIGNED on September 19, 2022, at Houston, Texas.



                                           ___________________________________
                                                     Lee H. Rosenthal
                                              Chief United States District Judge




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